234 U.S. 315
    34 S.Ct. 820
    58 L.Ed. 1329
    INTERSTATE COMMERCE COMMISSION, the United States of  America, Associated Jobbers of Los Angeles, and  Pacific Coast Jobbers &amp; Manufacturers  Association, Appts.,v.SOUTHERN PACIFIC COMPANY and the Atchison, Topeka, &amp;  Santa Fe Railway Company.
    No. 97.
    Argued January 14 and 15, 1914.
    Decided June 8, 1914.
    
      Mr. Blackburn Esterline and Solicitor General Davis for the United states.
      Mr. P. J. Farrell for the Interstate Commerce Commission.
      Messrs. Gardiner Lathrop, Fred H. Wood, Robert Dunlap, T. J. Norton, C. W. Durbrow, W. F. Herrin, and J. P. Blair for appellees.
      Mr. Justice Hughes delivered the opinion of the court:
    
    
      1
      The Pacific Coast Jobbers' Manufacturers' Association complained before the Interstate Commerce Commission of a switching charge of $2.50 per car maintained by the respondents for delivering and receiving carload freight to and from industries located upon spurs and side tracks within the carriers' switching limits in San Francisco. The Commission, finding the facts to be similar to those found in the case of the complaint of the Associated Jobbers of Los Angeles with respect to switching charges in the latter city (18 Inters. Com. Rep. 310), entered a similar order prohibiting the carriers from continuing the charge. This suit was thereupon brought in the circuit court of the United States for the district of Kansas, first division, against the Interstate Commerce Commission, to restrain the enforcement of the order. Upon its transfer to the commerce court, the United States intervened and moved to dismiss the proceeding. This motion was denied, and upon the application of the petitioners an injunction was granted.
    
    
      2
      The questions presented on the appeal from this order are the same as those which have been considered in the opinion of the court in No. 98, Interstate Commerce Commission v. Atchison, T. &amp; S. F. R. Co. decided this day [234 U. S. 294, 58 L. ed. ——, 34 Sup. Ct. Rep. 814], and for the reasons there set forth the order of the Commerce Court is reversed and the cause is remanded to the District Court of the United States for the Northern District of California, with instructions to dismiss the bill.
    
    
      3
      It is so ordered.
    
    